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IN THE UNITED sTATEs DISTRICT coURT HLED BYM D.c.
FoR THE WESTERN DISTRICT 0F TENNESSEE
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)
MARILYN JOHNSON, et al., Ttt)ttkt tt GOULD
§ say-lassiter
Plaintiff, ) /D Gr tr . r-.-rrtt+ts
)
v. ) Case No. 00-2608 DV
)
CITY or MEMPHIS, )
)
Defendant. )
)

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S MOTION
FOR PARTIAL SUMMARY JUDGMENT

 

Before the Court is Defendant’s motion for partial summary judgment (dkt. # 340) as to the
non-African-American Plaintiffs’ (“white Plaintiffs”) claims of violations of Title VII of the Civil
Rights Act of 1964, 42 U.S.C. § 2000e (“Title VII”), the Tennessee Huma.n Rjghts Act, Term. Code
Ann. § 4-21-401 (“THRA”), 42 U.S.C. § 1981 (“§ 1981 ”), and the Equal Protection clause of the
Fourteenth Arnendment to the United States Constitution (“Equal Protection clause”), brought via
42 U.S.C. § 1983, with regard to the 2000 promotional process. Defendant also seeks partial
summary judgment as to the Equal Protection clause claim that is based on a “class of orie” theory
with regard to both the 2000 promotional process and the 2002 promotional process as to all
Plaintiffs. Moreover, Defendant requests summary judgment as to Plaintiffs’ claim for negligence
Finally, Defendant seeks summary judgment as to Plaintiffs’ claims under City laws. For the
following reasons, the Court GRANTS IN PART AND DENIES IN PART Defendant’s motion
for partial Sun'unary judgment
I. FACTUAL AND PROCEDURAL BACKGROUND

Plaintiffs are police officers Who w re de iedymotions to sergeant during a » '¢ otional

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process administered by Defendant. In the 2000 promotional process, Defendant relied on a test
which originally included four factors: a written test, a practical test, performance evaluations, and
seniority. Those passing the written test were then required to take the practical test. Finally,
Defendant would consider performance evaluations and seniority. Each of the four factors were to
be weighted to calculate a total score. The weights assigned to the factors were: 20 percent for the
written test, 50 percent for the practical test, 20 percent for performance evaluations, and 10 percent
for seniority.

In scoring the written test, Defendant first applied a “cut score” of 70. Those making a score
of 70 or above were considered to have passed the exam; candidates with scores below 70 were not
permitted to move to the next step of the process. However, when Defendant applied the cut score
of 70, disparate impact to African-American candidates resulted. Therefore, Defendant adjusted the
cut score to 66. As such, anyone Scoring 66 or higher was considered to have passed the written test
and was allowed to continue in the promotional process by taking the practical test. The 66 and
above score was determined to be the score needed to ensure that the results satisfied the Equal
Employment Opportunity Commission’s (“EEOC”) four-tifths rule.l

The second step was the practical test. However, during the administration of the practical
test, Defendant discovered that certain applicants had received study materials that others did not
receive. In response, Defendant eliminated the practical test entirely and relied on the written test,

performance evaluations, and seniority to make its promotional decisions Thus, the weight

 

l"l`o determine Whether scores satisfy the four-tifths rule: first, a passing rate for African
Americans is calculated by dividing the number of African Americans passing the test by the
total number of African Americans who took the test . The same is done for white candidates
The passing rate for African Americans is then divided by the passing rate for white candidates to
get a selection rate. If the selection rate is below eighty percent, the cut score results in adverse
impact under the EEOC’s four-tifths rule.

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distribution among each of the three remaining factors was adjusted to allow for the elimination of
the practical test. As such, the Weight assigned to the written test Went from 20 percent to 45
percent, as did the weight assigned to performance evaluations Based on the three factors
Defendant promoted the top 63 candidates Officers who had been denied promotions then filed this
suit (Johnson l), alleging discrimination pursuant to 42 U.S.C. §§1981 and 1983, Tenn. Code Ann.
§ 4-21-401, the Fourteenth Arnendment’s Equal Protection clause, city ordinances and Title VII of
the Civil Rights Act, 42 U.S.C. § 2000e

In the 2002 promotions, it was discovered that promotions based on the testing process
would have a disparate impact on African-American candidates However, promotions were made
based on the test scores in spite of that knowledge Officers who were denied promotions brought
two suits Billinslev v. Citv of Memnhis Case No. 04-2013, and Johnson V. City of Memphis
(Johnson 2), Case No. 04-2017. The three cases were consolidated on October 27, 2004.

On May 27, 2005, Defendants filed the instant motion for partial summary judgment
II. SUMMARY JUDGMENT STANDARD

Summary judgment is proper “if the pleadings depositions answers to interrogatories and
admissions on file, together with the affidavits if any, show that there is no genuine issue as to any
material fact and that the moving party is entitled to a judgment as a matter of law.” Fed.R.Civ. P.
56(0). In other Words, summary judgment is appropriately granted “against a party who fails to make
a showing sufficient to establish the existence of an element essential to that party’s case, and on
which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986).

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The party moving for summary judgment may satisfy its initial burden of proving the absence
of a genuine issue of material fact by showing that there is a lack of evidence to support the
nonmoving party’s case. I_d. at 325. This may be accomplished by submitting affirmative evidence
negating an essential element of the nonmoving party’s claim, or by attacking the opponent’s
evidence to show why it does not support a judgment for the nonmoving party. 10a Charles A.
Wright et al., Federal Practice and Procedure § 2727, at 35 (2d ed. 1998).

F acts must be presented to the court for evaluation. Kalamazoo River Study Group v.
Rockwell Int’l Cor_'p., 171 F.3d 1065, 1068 (6th Cir. 1999). The court may consider any material that
would be admissible or usable at trial. 10a Charles A. Wright et al., Federal Practice and Procedure
§ 2721, at 40 (2d ed. 1998). Although hearsay evidence may not be considered on a motion for
summaryjudgment, Jacklyn v. Schering-Plough Healthcare Prods Sales Cor_"p., 176 F.3d 921, 927
(6th Cir. 1999), evidentiary materials presented to avoid summary judgment otherwise need not be
in a form that would be admissible at trial. M, 477 U.S. at 324; Thaddeus-X v. Blatter, 175
F.3d 378, 400 (6th Cir. 1999).

In evaluating a motion for summary judgment, all the evidence and facts must be viewed in
a light most favorable to the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
475 U.S. 574, 587 (1986); Wade v. Knoxville Utilities Bd., 259 F.3d 452, 460 (6th Cir. 2001).
Justifrable inferences based on facts are also to be drawn in favor of the non-movant Kalamazoo
L`vg, 171 F.3d at 1068.

Once a properly supported motion for summary judgment has been made, the “adverse party
may not rest upon the mere allegations or denials of [its] pleading, but . . . must set forth specific

facts showing that there is a genuine issue for tria .” Fed.R.Civ. P. 56(e). A genuine issue for trial

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exists if the evidence would permit a reasonable jury to return a verdict for the nonmoving party.
Anderson v. Liber_ty Lobby, Inc., 477 U.S. 242, 248 (1986). To avoid summary judgment, the
nonmoving party “must do more than simply show that there is some metaphysical doubt as to the
material facts.” Matsushita, 475 U.S. at 586.

III. ANALYSIS

A. Intentional Race Discrimination against White Plaintiffs

Defendant asserts that the white Plaintiffs were not discriminated against based on race in
violation of Title VII, the THRA, § 1981, or the Equal Protection clause, through 42 U.S.C. § 1983.
Plaintiffs argue that the white Plaintiffs received disparate treatment in the promotional process and
were thus intentionally discriminated against because of their race.

An employee alleging disparate treatment must show a discriminatory motive in order to
prevail on a discrimination claim. Such proof can be established by direct evidence or may be
inferred from a prima facie showing of discriminationl Huguley v. General Motors Corp., 52 F.3d
1364, 1370 (6th Cir. 1995). “[D]irect evidence is that evidence which, if believed, requires the
conclusion that unlawful discrimination was at least a motivating factor” in the adverse employment
decision at issue. Price Waterhouse v. Hopkins, 490 U.S. 228, 247 (1989); hcle v. Schering-
Plough Healthcare Prods. Sales Corp., 176 F. 3d 921, 926 (6th Cir. 1999) (citations omitted).
Evidence is direct when, if believed, it would prove the existence of a fact without any inferences
or presumptions Lautner v. AT&T, 1997 U. S. App. Lexis 1267, at *8 (6th Cir. 1997); Norbuta v.
Loctite Corp., 2001 WL 45114, at *7 (6th Cir. 2001). If the plaintiff provides credible direct
evidence of discriminatory animus the burden of persuasion shifts to the defendant to establish by

a preponderance of the evidence “that it would have terminated the plaintiffs employment [even]

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had it not been motivated by discrimination.” Jacklyn, 176 F. 3d at 926. Thus, the employer must
do more than merely “articulate” its nondiscriminatory reason for its action. Blalock v. Metals

Trade lnc., 775 F.2d 703, 710 (6th Cir. 1985).

 

Here, Plaintiffs have proffered no direct evidence of discriminatory animus Plaintiffs have
not alleged that anyone at any time heard any of Defendant’s representatives make any
discriminatory comments or any statements regarding actions taken for discriminatory reasons
Therefore, Plaintiffs must proceed with a prima facie showing of discrimination.

If an employee seeks to make a prima facie showing of discrimination, the evidentiary
framework established by the United States Supreme Court in McDonneIl Douglas Corp. v. Green,
41 l U.S. 792 (1973), applies E Texas Depart. of Cmty. Affairs v. Burdine, 450 U.S. 248 (1981);
McDonald v. Union Camp Corp., 898 F.2d 1155, 1159 (6th Cir. 1990). Under the McDonnell
D_t_)_ugla§ burden-Shiiting framework, the plaintiff must prove a prima facie case of discrimination

by a preponderance of the evidence Wilson v. Stroh Co. Inc., 962 F.2d 942, 945 (6th Cir. 1992).

 

If the plaintiff succeeds the burden of production shifts to the defendant to articulate a legitimate,

 

non-discriminatory reason for the adverse employment action. Burdine, 450 U.S. at 25 3. Once the
employer provides a legitimate, non-discriminatory reason for the adverse employment action, the
plaintiff may still prevail if evidence has been proffered that tends to disprove the reasons offered
by the defendant Kline v. Tennessee Vallev Auth.. 128 F.3d 337, 347 (6th Cir. 1997). However,
even if the plaintiff proves the employer’s proffered reason is pretext, he nonetheless bears the
ultimate burden of proving that a discriminatory intent motivated the defendant’s action. St. Mg’s
Honor Ctr. v. Hicks, 509 U.S. 502, 507 (1993).

Balancing group interests is a challenging but Worthy task. In the instant case, both

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Plaintiffs and Defendant cite Zambetti v. Cuyahoga Comm. College, 314 F.3d 249 (6th Cir. 2002),
to note that a white plaintiff must “demonstrate that ‘background circumstances support the
suspicion that the defendant is that unusual employer who discriminates against the majority”’
Zambetti , 314 F.3d at 256 (thing Murray v. Thistledown Racing Club, Inc., 770 F.2d 63,67 (6th
Cir. 1985)). To establish background circumstances which support such a suspicion, the plaintiff
can proffer evidence that the defendant has unlawfully considered race as a factor in hiring in the
past M.

From 1988 through 2000, the Defendant conducted three sergeant promotion processes Pfs. ’
Response in Opp. to Def`. Mot. for Summ. J at 10. In Defendant’S 1988 and 1989 selection process
the test and promotion procedures used Was not validated as being job-related. E. Few African
Americans were selected for promotion under this invalidated testing procedure E. The response
to the disparate treatment of African Americans for promotion under this procedure was to halt
certain white candidates with higher scores from promotions to institute an affirmative action
program in favor of African Americans. M. (citing Pfs. Ex. 10, Df. Rebuttal to Statm. of F acts ##7
and 7.1, Ashton v. Cig of Memphis). Certain white candidates impacted by the affirmative action
procedure were not promoted until nearly ten years later. M. at 10-11. This counters Defendant’s
argument that disparate treatment cannot exist against both minority and non-minority plaintiffs in
the same promotion process

Defendant argues that the events of 1988 and 1989 are too remote to be considered as
“background” evidence. Def.’s Reply Memo. in Support of Its Mot. for Part. Summ. J. at 6. The
Court rejects this argument Defendant further argues that its 1988 and 1989 affirmative action

procedure should not be deemed unlawfully discriminatory because it was a remedial response to

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two court approved consent decrees E. 6-7 (E Aiken v. City of Memphis, 37 F.3d 1 155 (6th Cir.
1994)). Though the w Court found that the City’s use of race-based promotions in 1988 and
1989 were supported by a compelling governmental interest, upon remand the City’s promotional
goals were determined not to be “narrowly tailored.” w Mi_m 37 F.3d at 1162-63, remanded to,
Ashton v. City of Memphis, 49 F.Supp.2d 1051 (W.D.Tenn. 999). Though framed within a remedial
context, the Court finds that Defendant’s actions fall within that of the “unusual employer” that has
considered race as a factor in hiring in the past With disparate treatment to whites to remedy its
disparate treatment to African Americans. For purposes of surviving a motion for summary
judgment, this creates a genuine issue of material fact as to whether the Defendant had
discriminatory animus toward the white Plaintiffs in the case at bar.

Accordingly, Defendant’s motion for partial summary judgment as to the white Plaintiffs’
claim of discrimination is denied. Defendant may move at the close for relief.

A. Egual Protection

Defendant contends that Plaintiffs have failed to establish the requisite elements of an Equal
Protection challenge under a “class of one” theory. Plaintiffs consent to refrain from pursuing a
“class of one” Equal Protection claim for Plaintiffs from the 2002 promotional process With respect
to the 2000 promotional process Plaintiffs allege that Defendant discriminated against them in
violation of the Equal Protection clause of the Fourteenth Amendment to the United States
Constitution. The threshold question in deciding an Equal Protection claim is the appropriate level
of scrutiny to apply. Breck v. State of Michigan, 203 F.3d 392, 395 (6th Cir. 2000). ln most
instances the legislature or decision maker only needs to show that the statute or decision bears

some rational relationship to a legitimate state end. lc_l. “Departure from this rational relationship

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test is permitted only when the challenged statute places burdens upon suspect classes of persons or
on a constitutional right that is deemed to be fundamental.” I_d. (intemal quotations omitted). In
those cases courts apply a strict scrutiny standard; that is, the decision maker must demonstrate that
the race-based action was necessary to further a compelling governmental interest and is narrowly
tailored to further that interest Grutter v. Bollinger, 539 U.S. 306, 308 (2003).

In the instant case, Plaintiffs are police officers who did not get promoted. Police officers
who do not get promoted are not a suspect class Plaintiffs have not alleged that they are members
of a suspect class in their response to this summary judgment motion. Nor have they alleged that
a fundamental right is at issue. Thus, as Plaintiffs concede, a rational basis standard must be
employed Consequently, to establish a violation of Equal Protection, Plaintiffs must show that
Defendant’S decision not to promote them is not rationally related to any conceivable legitimate
legislative purpose Hadix v. Johnson, 230 F.3d 840, 843 (6th Cir. 2000) ( citing Lehnhausen v. Lake
Shore Auto Parts Co., 410 U.S. 356 (1973)). Undcr this standard, the decision not to promote
Plaintiffs must be afforded a strong presumption of validity and “must be upheld as long as ‘there
is a rational relationship between the disparity of treatment and some legitimate government
purpose.”’ E. (giLoti_ng I-leller v. Doe, 509 U.S. 312 (1993)). Rational basis scrutiny requires only
that there is an imaginable basis for the classification _S_e_e §re_c_k, 203 F.3d at 395. The
classification only needs to be rationally related to the goal or purpose of the classification, and the
court does not assess the wisdom of the challenged regulation lit

In its June 21 , 2005 Order Denying Plaintiffs’ Motion for Partial Surnmary Judgment (“June
21, 2005 Order”), the Court held that Plaintiffs had not satisfied the heavy burden required under a

rational basis standard. Thus the Court finds that Plaintiffs have failed to establish the requisite

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elements of an Equal Protection challenge under a “class of one” theory. Accordingly, the Court
grants Defendant’s motion for partial summary judgment as to Plaintiffs’ Equal Protection claim,
only with respect to Plaintiffs’ “class of one” theory.

C. Negligence

Defendant asserts that the Tennessee Govemmental Tort Liability Act (“GTLA”) shields it
from liability for Plaintiffs’ negligence claim. Section 29-20-205 of the Tennessee Code Annotated
states that,

[i]mmunity from suit of all governmental entities is removed for injury proximately

caused by a negligent act or omission of any employee within the scope of his

employment except if the injury arises out of:

(1) the exercise or performance or the failure to exercise or perform a discretionary
function, whether or not the discretion is abused.

Tenn. Code Ann. § 29-20-205. Defendant argues that the acts complained of are discretionary
functions of the City and that therefore, the City is immune from liability.

Plaintiffs maintain that the acts in question were not discretionary. Thus, Plaintiffs argue,
immunity was removed. The Tennessee Supreme Court has adopted the “planning-operational” test
to determine whether a municipality’s act is within the scope of the “discretionary function”
immunity. Bowers v. Citv of Chattanoogg, 826 S.W.2d 427, 430 (Tenn. 1992). Under this test, the
City may not be held liable for deliberate, policy-like decisions made within its discretion, but it may
be held liable for decisions that Were purely functional or operational E. Because to a greater or
lesser degree, every act involves some discretion, under the planning-operational test, discretionary
function immunity does not attach automatically to every act involving choice or judgment

Williams v. Shelby County Health Care Corp., 803 F.Supp. 1306, 1315 (W.D. Tenn. 1992). “Rather,

the underlying policy of governmental immunity is better served by examining (1) the

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decision-making process and (2) the propriety of judicial review of the resulting decision.” lit If
an act is chosen after consideration or debate by those charged with planning or creating policies
it strongly suggests that the decision is discretionary. ld_. “These decisions often result from
assessing priorities allocating resources developing policies; or establishing plans specifications
or schedules.” E.

On the other hand, when a decision is based on “preexisting laws regulations policies or
standards [it] usually indicates that its maker is performing an operational act Similarly operational
are those ad hoc decisions made by an individual or group not charged with the development of plans
or policies.” ld. Thus, discretionary function immunity does not apply when an official fails to
comply with laws or policies designed to guide his actions in a particular situation. McNabb v. City
of Memphis, 2004 WL 2375631 *3 (W.D. Tenn. 2004).

In the instant case, the Court held in its lurie 21, 2005 Order that discretionary function
immunity applies in this case. Plaintiffs contend that discretionary function immunity does not apply
because City Charter Section 25 0. l and City Ordinance Section 9-3 specify the type of examinations
to be utilized in the promotional process for the City of Memphis The ordinance to which Plaintiff
refers states in pertinent part:

Sec. 9-3. Examinations for applicants for employment

(a) All applicants for employment in positions protected by this article shall be

subjected to competitive job-related examinations under such rules and regulations

as may be adopted by the director of personnel

(b) The examinations to be provided for shall be of a practical nature and relate to

such matters as will fairly test the relative competency of the applicant to discharge

the duties of the particular position.

The Charter has identical language Plaintiffs assert that this preexisting law governed the decisions

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concerning the testing process Therefore, Plaintiffs argue that the decisions were operational in
nature, so immunity should not attach.

Although the Charter and Ordinance designate certain criteria, the decisions concerning what
type of test to use, how to weight the various testing components and how the tests are to be
administered are left to the discretion of the director of personnel. Furthermore, the requirement that
tests be “of a practical nature” must be interpreted by those in a position to make such decisions for
Defendant Thus, even though to some extent the testing procedures result from a determination
based on preexisting laws discretionary function immunity applies in this case.

Accordingly, Defendant’s motion for partial summary judgment as to Plaintiff’ s negligence
claim is granted

D. City Charter and City Ordinances

Defendant argues that Plaintiffs have not demonstrated a sufficient injury on which to base
claims of violations of the City’ s Civil Service Laws. Plaintiffs maintain that they are the intended
beneficiaries of the laws and were injured when they were not selected for promotions and pay
increases The question of the significance of Plaintiffs’ injuries is one for the factfinder
Accordingly, Defendant’s motion for summary judgment as to Plaintiffs’ claims pursuant to the City

Charter and City Ordinances is denied.

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IV. CONCLUSION

For the aforementioned reasons the Court DENIES Defendant’s motion as to the white
Plaintiffs’ claims of discrimination, GRANTS Defendant’s motion as to the white Plaintiffs’ Equal
Protection claim under a “class of one” theory only, and Plaintiffs’ negligence claim. The Court
DENIES Defendant’ s motion for partial summary judgment with respect to Plaintiffs’ claims under
the City Charter and City Ordinances.

rr rs so oRDERED this §§ th day afiury, 2005.

 

NITED STATES DISTR]CT JUDGE

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ESEE

 

Delaine R. Smith

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
l\/lemphis7 TN 38120

David l\/l. Sullivan

LAW OFFICES OF DAV]D M. SULLIVAN
3251 Poplar Ave.

Ste. 130

l\/lemphis7 TN 38111

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
l\/lemphis7 TN 38120

Keith R. Thomas

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
l\/lemphis7 TN 38120

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WlLKlNS
119 S. Main St.

Ste. 700

l\/lemphis7 TN 38103

Earle J. Schwarz
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

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Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. l\/lain Street

Rm. 3 14

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

